         SECTION 8.03           Notices.

        Except as othenvise provided herein, all notices, certificates, or other communications
 hereunder shall be in writing and shall be deemed given upon receipt, by hand delivery, maiL
 overnight delivery, telecopy or other electronic means addressed as follows:
         If to the City:        City of Detroit
                                2 Woodward Avenue
                                Suite 1200
                                Detroit, Michigan 48226
                                Attention:      Finance Director
                                Telephone:      (313) 224-3491
                                Facsimile:      (313) 224-4466
 If to the Department:          Detroit Water and Sewerage Department
                                735 Randolph Street
                                Detroit, Michigan 48226
                                Attention:     Director
                                Telephone:     (313) 224-4701
                                Facsimile:     (313) 224-6067

         If to the Trustee:     U.S. Bank National Association
                                535 Griswold Street, Suite 550
                                Detroit, Michigan 48226
                                Attention:     Corporate Trust
                                Telephone:     (313) 234-4700
                                Facsimile:     (313) 963-9428

 A duplicate copy of each notice given hereunder by any party hereto shall be given to the other
 parties. Any person or entity listed above may, by notice given hereunder, designate any further
 or different addresses to which subsequent notices, certificates or other communications shaU be
 sent For purposes of this Section, "electronic means" shall mean electronic mail, telecopy or
 facsimile transmission or other similar electronic means of communication which produces
 evidence of transmission.

        SECTION 8.04            Additional Notices to Rating Agencies.

         The Trustee hereby agrees that if at any time (a) there is a change in the Trustee; (b) there
 are any modificatim1s, supplements or amendments to this Indenture; (c) an issue of the
 Securities are paid in full; then, in each case, the Trustee shall promptly give notice of any such
 event to each Rating Agency then maintaining a rating on the affected Securities, which notice in
 the case of an event described in clause (b) above shall include a copy of any such amendment,
 modification or supplement.




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          SECTION 8.05          Payments Due on Non-Business Days.

         In any case where the date of maturity of interest on or premium, if any, or principal of
 the Securities or the date fixed for redemption of any Securities shall not be a Business Day, then
 payment of such interest, premium or principal need not be made on such date but shall be made
 on the next succeeding Business Day, with the same force and effect as if made on the date of
 maturity or the date fixed for redemption, and, in the case of such payment, no interest shall
 accrue for the period from and after such date.

          SECTION 8.06          Binding Effect.

         This instrument shall inure to the benefit of and shaH be binding upon the City, the
 Department and the Trustee and their respective successors and assigns, subject, however, to the
 limitations contained in this Indenture.

          SECTION 8.07          Captions.

         The captions or headings in this Indenture are for convenience only and in no way define,
 limit or describe the scope or intent of any provisions or sections of this Indenture.

          SECTION 8.08          Governing Law.

          This Indenture shall be governed by and interpreted in accordance with the laws of the
 State.

          SECTION 8.09          Execution in Counterparts.

         This Indenture may be executed in several counterparts, each of which shall be an
 original and all of which shall constitute but one and the same instrument.


                         [The balance of this page is intentionally left blank.
                                    The signature page follows.]




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         IN WITNESS WHEREOF, the City and the Department have executed this Indenture by
 the Finance Director and the Director, respectively, and the Trustee has caused this Indenture to
 be executed in its name by its duly authorized omeer, all as of February 1, 2013 to be effective
 as of the day and year first above written.


                                             THE CITY OF DETROIT




                                             DETROIT WATER AND SEWERAGE
                                             DEPARTMENT



                                                  Sue F. McConnick
                                             Its: Director


                                             U.S. BANK NATIONAL ASSOCIATION
                                             as Trustee



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                                                  Susan T. Brown
                                             Its: Vice President




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